 Fill in this information to identify the case:

  Debtor 1       Marian Lynn Bickcom

  Debtor 2

 United States Bankruptcy Court for the: Eastern District of Michigan

 Case number :    15-53320-mlo



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                 12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of              NewRez LLC d/b/a Shellpoint Mortgage Servicing                            Court claim no.                                       2
     creditor:                                                                                      (if known):
     Last 4 digits of any number                                                                    Date of payment change:                   05/01/2020
     you use to identify the debtor's                                    3755                       Must be at least 21 days after date of
     account:                                                                                       this notice

                                                                                                    New total payment:                         $516.30
                                                                                                    Principal, interest, and escrow, if any


Part 1:      Escrow Account Payment Adjustment

1.   Will there be a change in the debtor's escrow account payment?
      [ ] No
      [X]    Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law.
                      Describe the basis for the change. If a statement is not attached, explain why:

                             Current escrow payment: $243.88                             New escrow payment: $148.18



Part : 2     Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?

      [X] No
      [ ] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a
                     notice is not attached, explain why:

                     Current interest rate:                                     New interest rate:
                     Current Principal and interest payment:                    New principal and interest payment:



Part 3:      Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
       [X] No
       [ ] Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                      agreement. (Court approval may be required before the payment change can take effect).
                      Reason for change:
                             Current mortgage payment:                                   New mortgage payment:




Official Form 410S1                                                 Notice of Mortgage Payment Change                                                     page 1
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Debtor 1 Marian Lynn Bickcom                                                          Case number (if known)           15-53320-mlo
                First Name              Middle Name           Last Name




Part 4:           Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:


[]       I am the creditor.

[X]       I am the creditor's attorney or authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


           /s/ Julian Cotton                                                                Date     4/9/2020
    Signature



Print:                       Julian Cotton                                       Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                   Email              bkcrm@padgettlawgroup.com




Official Form 410S1                                                   Notice of Mortgage Payment Change                                         page 2
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                             IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF MICHIGAN
                                         DETROIT DIVISION

IN RE: Marian Lynn Bickcom                                             Case No: 15-53320-mlo
                                                                       Chapter 13
                  Debtors(s)
_________________________________________/




                                         CERTIFICATE OF SERVICE

                                             9 day of April, 2020, a true and correct copy of the
        I HEREBY CERTIFY that, on this the _____

foregoing was served by U.S., First Class, and/or electronic transmission to:

Debtor
Marian Lynn Bickcom
28935 York Street
Inkster, MI 48141

Attorney
William D. Johnson
Acclaim Legal Services
8900 E. 13 Mile Rd.
Warren, MI 48093


Christopher W. Jones
8900 E. 13 Mile Rd.
Warren, MI 48093


Brian D. Rodriguez
8900 E. 13 Mile Road
Warren, MI 48093

Trustee
Tammy L. Terry
Buhl Building
535 Griswold
Suite 2100
Detroit, MI 48226

                                                       /S/ Julian Cotton


Official Form 410S1                          Notice of Mortgage Payment Change                               page 3
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                                              ___________________________________
                                              JULIAN COTTON
                                              PADGETT LAW GROUP
                                              6267 Old Water Oak Road, Suite 203
                                              Tallahassee, FL 32312
                                              (850) 422-2520 (telephone)
                                              (850) 422-2567 (facsimile)
                                              bkcrm@padgettlaw.net
                                              Authorized Agent for Creditor




Official Form 410S1                 Notice of Mortgage Payment Change                       page 4
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                                                                     Shellpoint Mortgage Servicing
                                                                     PO Box 10826
                                                                     Greenville, SC 29603 0826
                                                                     For Inquiries: (800) 365-7107


                                                                                                                                      Analysis Date:                                           March 14, 2020
        MARIAN L BICKCOM                                                                                                              Loan:
        28935 YORK ST                                                                                                                 Property Address:
        INKSTER MI 48141                                                                                                              28935 YORK ST
                                                                                                                                      INKSTER, MI 48141




                                                                  Annual Escrow Account Disclosure Statement - Account History
      The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
      behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
      decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
      increase. If the escrow payment decreases, your mortgage payment will decrease.

Payment Information              Contractual          Effective May 01, 2020          Prior Esc Pmt                     May 01, 2019          Escrow Balance Calculation

P & I Pmt:                            $368.12                          $368.12        P & I Pmt:                              $368.12         Due Date:                                       September 01, 2019
Escrow Pmt:                           $243.88                          $148.18        Escrow Pmt:                             $243.88         Escrow Balance:                                           $995.68
Other Funds Pmt:                        $0.00                            $0.00        Other Funds Pmt:                          $0.00         Anticipated Pmts to Escrow:                             $1,951.04
Asst. Pmt (-):                          $0.00                            $0.00        Asst. Pmt (-):                            $0.00         Anticipated Pmts from Escrow (-):                          $55.52
Reserve Acct Pmt:                       $0.00                            $0.00        Resrv Acct Pmt:                           $0.00

Total Payment:                        $612.00                          $516.30        Total Payment:                          $612.00         Anticipated Escrow Balance:                              $2,891.20


Shortage/Overage Information                                     Effective May 01, 2020           Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
                                                                                                  amounts or insurance premiums, your escrow balance contains a cushion of 296.35.
Upcoming Total Annual Bills                                                    $1,778.11
                                                                                                  A cushion is an additional amount of funds held in your escrow in order to prevent the
Required Cushion                                                                 $296.35
Required Starting Balance                                                        $777.98          balance from becoming overdrawn when an increase in the disbursement amount
Escrow Shortage                                                                    $0.00          occurs. Your lowest monthly balance should not be below 296.35 or 1/6 of the
Surplus                                                                         $2113.22          anticipated payment from the account.



      This is a statement of actual activity in your escrow account from Apr 2019 to Apr 2020. Last year's anticipated activity (payments to and from your
      escrow account) is next to the actual activity.

                              Payments to Escrow                          Payments From Escrow                                                              Escrow Balance
          Date                Anticipated              Actual             Anticipated          Actual                     Description                       Required               Actual
                                                                                                                   Starting Balance                                 0.00            387.19
        Apr 2019                                            231.98                                            *                                                     0.00            619.17
        Apr 2019                                                                                       140.92 * Hazard                                              0.00            478.25
        May 2019                                            231.98                                            *                                                     0.00            710.23
        May 2019                                                                                       140.92 * Hazard                                              0.00            569.31
        Jun 2019                                            231.98                                            *                                                     0.00             801.29
        Jun 2019                                                                                       140.92 * Hazard                                              0.00             660.37
        Jul 2019                                            227.31                                            *                                                     0.00             887.68
        Jul 2019                                            227.31                                            *                                                     0.00           1,114.99
        Jul 2019                                                                                       140.92 * Hazard                                              0.00             974.07
        Aug 2019                                            227.31                                            *                                                     0.00           1,201.38
        Aug 2019                                                                                       140.92 * Hazard                                              0.00           1,060.46
        Aug 2019                                                                                       941.59 * City Tax                                            0.00             118.87
        Sep 2019                                            227.31                                            *                                                     0.00            346.18
        Sep 2019                                                                                       140.92 * Hazard                                              0.00            205.26
        Sep 2019                                                                                       140.92 * Hazard                                              0.00             64.34
        Oct 2019                                            227.31                                            *                                                     0.00            291.65
        Oct 2019                                                                                       140.92 * Hazard                                              0.00            150.73
        Nov 2019                                              0.20                                            * Escrow Only Payment                                 0.00            150.93
        Nov 2019                                            227.31                                            *                                                     0.00            378.24
        Dec 2019                                            471.19                                            *                                                     0.00            849.43
        Dec 2019                                                                                       503.40 * City Tax                                            0.00            346.03
        Feb 2020                                            243.88                                            *                                                     0.00             589.91
        Mar 2020                                            487.76                                            *                                                     0.00           1,077.67
        Mar 2020                                                                                        81.99 * Lender Placed Hazard                                0.00             995.68
                                                                                                                   Anticipated Transactions                         0.00            995.68
        Mar 2020                                          1,707.16 P                                    27.76      Lender Placed Hazard                                            2,675.08
        Apr 2020                                            243.88 P                                    27.76      Lender Placed Hazard                                            2,891.20
                                        $0.00            $5,213.87                  $0.00            $2,709.86
      An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call our toll-free number.
      P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown.




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                                                           Shellpoint Mortgage Servicing
                                                           For Inquiries: (800) 365-7107


                                                                                                                          Analysis Date:                                         March 14, 2020
                                                                                                                          Loan:


                                                  Annual Escrow Account Disclosure Statement - Projections for Coming Year
 This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.

      Date                     Anticipated Payments                                                                                                  Escrow Balance
                              To Escrow          From Escrow                   Description                                                 Anticipated                Required
                                                                              Starting Balance                                                 2,891.20                    777.98
   May 2020                        148.18                 27.76               Lender Placed Hazard                                             3,011.62                     898.40
   Jun 2020                        148.18                 27.76               Lender Placed Hazard                                             3,132.04                   1,018.82
   Jul 2020                        148.18                 27.76               Lender Placed Hazard                                             3,252.46                   1,139.24
   Aug 2020                        148.18                941.59               City Tax                                                         2,459.05                    345.83
   Aug 2020                                               27.76               Lender Placed Hazard                                             2,431.29                    318.07
   Sep 2020                        148.18                 27.76               Lender Placed Hazard                                             2,551.71                    438.49
   Oct 2020                        148.18                 27.76               Lender Placed Hazard                                             2,672.13                    558.91
   Nov 2020                        148.18                 27.76               Lender Placed Hazard                                             2,792.55                    679.33
   Dec 2020                        148.18                503.40               City Tax                                                         2,437.33                    324.11
   Dec 2020                                               27.76               Lender Placed Hazard                                             2,409.57                    296.35
   Jan 2021                        148.18                 27.76               Lender Placed Hazard                                             2,529.99                    416.77
   Feb 2021                        148.18                 27.76               Lender Placed Hazard                                             2,650.41                    537.19
   Mar 2021                        148.18                 27.76               Lender Placed Hazard                                             2,770.83                    657.61
   Apr 2021                        148.18                 27.76               Lender Placed Hazard                                             2,891.25                    778.03
                                 $1,778.16             $1,778.11
 (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)


 Your ending balance from the last month of the account history (escrow balance anticipated) is 2,891.20. Your starting
 balance (escrow balance required) according to this analysis should be $777.98.




 We anticipate the total of your coming year bills to be 1,778.11. We divide that amount by the number of payments expected during the coming year to
 obtain your escrow payment.
   New Escrow Payment Calculation

   Unadjusted Escrow Payment                                               $148.18
   Surplus Reduction:                                                        $0.00
   Shortage Installment:                                                     $0.00
   Rounding Adjustment Amount:                                               $0.00

   Escrow Payment:                                                         $148.18

TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED, DISMISSED OR IS SUBJECT TO AN AUTOMATIC STAY OF BANKRUPTCY ORDER UNDER TITLE 11 OF THE UNITED STATES CODE, THIS
NOTICE IS FOR COMPLIANCE AND INFORMATION PURPOSES ONLY AND DOES NOT CONSTITUTE A DEMAND FOR PAYMENT OR ANY ATTEMPT TO COLLECT ANY SUCH OBLIGATION.




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